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                                                                                                                April 2, 2020


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
UNITED STATES OF AMERICA

                                                                                      WAIVER OF RIGHT TO BE PRESENT AT
                                  -v-
                                                                                      CRIMINAL PROCEEDING


                                                                                         -CR-     ( )(   )




Check Proceeding that Applies

           Arraignment

           I have been given a copy of the indictment containing the charges against me and have reviewed it with my
           attorney . I understand that I have a right to appear before a judge in a courtroom in the Southern Distri ct
           of New York to confirm that I have received and reviewed t re ind ictment; to have the indictment read aloud
           to me if I wish; and t o enter a plea of either guilty or not guilty before the judge. After consultation with
           my attorney, I wish to plead not gui lty . By signing this docu 11ent, I wish to advise the court of the following.
           I willingly give up my right to appea r in a courtroom in the Southern District of New Yo rk to advise the court
           t hat:

                       1)         I have received and reviewed a copy of the indictment.
                       2)         I do not need the judge to read the indictme nt aloud to me .
                       3)         I plead not guilty to the charges against rn e in the indictment.



Date :
                       Signature of Defend ant




j          Bail Hearing
                       Print Name




           I am applying or in the future may apply for relea se from detention, or if not detained, for modification of
           the conditions of my release from custody, that is, my ba il conditions. I underst and that I have a right to
           appear before a judge in a courtroom in the Southern District of New York at the time t hat my attorney
           makes such an application. I have discussed these rights with my attorney and w ish to give up these rights
           for the period of time in which access to the cou rthouse has been restricted on account of the COVID-19
           pandemic. I request that my attorney be permitt ed to make applicat ions for mv release from custody or
           for modification of the conditions of my release even though I will not be pn~sent, and to make such
           applications in writing or by t elephone in my attorney's discretion .
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              Conference

              I have been charged in an ind ictm ent with violations of federa l law . I underst and that I have a right to be
              present at all conferences co ncerning this ind ictment that are held by a j udge in the Sout hern District of
              New York, unless the conference involves only a question of law. I und erstand th at at the se conferences
              the judge may, among other things, 1) set a schedule for t he case incl uding the date at whi ch the trial will
              be held, and 2) determine w hethe r, under the Speedy Tried Act, certain periods of t ime shou ld be properly
              excluded in sett ing t he t ime by wh ich the trial mu st occur. I have discussed the s.e issues with my attorney
              and wish to give up my right to be present at the confere nces . By sign ing t his document, I wish to advise
              the court that I willingly give up my right to be present at t he conferences in my C3se for the period of ti me
              in which access to the courthouse has been restrict ed on account of th e COVID-19 pandemi c. I request that
              my attorney be perm itted to represent my interests at the proceedings even though I wil l not be present.




  Date:
                       Signature of Defendant




                       Prin t Name



  I hereby affirm that I am aware of my obligation to discuss with my client the cha rges contained in t he ind ictment,
  my client' s rights to attend and partici pate in the criminal proceedings encompassed by this waiver, and this waiver
  form. I affirm that my client knowingly and voluntarily consents to the proceedi ngs being held in my cli ent' s absence.
  I will inform my client of what transpi res at the proceedings and provide my cl ient with a copy of th e tran script of
  the pcoceed;ogs,     ;f   '°'"~ -- -
  Date :                     ~
l {/L/{ ceJ            Signature of Defense Counsel



                            ~ew f/1 !WIM7L
                       Print Name



  Addendum for a defendant who requires services of an interpreter:

  I used the services of an interpreter to discu ss these issues with the defendant . The interweter also t ranslated thi s
  document, in its ent irety, to the defendant before th e defen dant signed it. The interpreter's name is:




  Date:
                       Signature of Defense Coun sel




  Accepted:
                       Signature of Judge
                       Date : 11/4/2020

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